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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CHRISTOPHER SANCHEZ,

                          Plaintiff,
                                                20 Civ. 6559 (KPF) (GWG)
                   -v.-
                                                         ORDER
COMMISSIONER OF SOCIAL
SECURITY,

                          Defendants.

KATHERINE POLK FAILLA, District Judge:


      By Order today, the Court is referring this case to Magistrate Judge

Wang for a report and recommendation on any motion for judgment on the

pleadings. To conserve resources, to promote judicial efficiency, and in an

effort to achieve a faster disposition of this matter, it is hereby ORDERED that

the parties must discuss whether they are willing to consent, under 28 U.S.C.

§ 636(c), to conducting all further proceedings before Magistrate Judge

Gorenstein.

      If both parties consent to proceed before the Magistrate Judge, counsel

for Defendant must, within two weeks of the date of this Order, either mail

or email to Failla_NYSDChambers@nysd.uscourts.gov a fully executed Notice,

Consent, and Reference of a Civil Action to a Magistrate Judge form, a copy of

which is attached to this Order (and also available at

http://nysd.uscourts.gov/file/forms/consent-to-proceed-before-us-magistrate-

judge). If the Court approves that form, all further proceedings will then be

conducted before Magistrate Judge Gorenstein rather than before the
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undersigned.

      If either party does not consent to conducting all further proceedings

before Magistrate Judge Gorenstein, the parties must file a joint letter, within

two weeks of the date of this Order advising the Court that the parties do

not consent, but without disclosing the identity of the party or parties who

do not consent. There will be no adverse consequences if the parties do not

consent to proceed before the Magistrate Judge.

      SO ORDERED.

Dated:      October 16, 2020
            New York, New York
                                            __________________________________
                                                 KATHERINE POLK FAILLA
                                                United States District Judge




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